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           IN THE UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION


SARAH USRY and DANIEL DARNELL,
on behalf of themselves and
all others similarly situated.

                                         *
     Plaintiffs,
                                         *



           V.                            *           CV 116-010


                                         *
EQUITYEXPERTS.ORG, LLC d/b/a
                                         *
EQUITY EXPERTS; MICHAEL NOVAK;
                                         *
JACQUELINE GALOFARO; and MARK
                                         *
BREDOW,
                                         *



     Defendants.                         *



                                    ORDER




     Before     the   Court   is    Plaintiffs'    amended   motion   for   class

certification.        (Doc. 93.)     Having undertaken a detailed analysis

of the briefs and the record, the Court GRANTS Plaintiffs' motion.



                                   I. BACKGROUND


     This action is based on Defendants' alleged violation of the

Fair Debt Collection Practices Act ("FDCPA"), 15 U.S.C. § 1692 at

seq., violation of the Georgia usury statutes, O.C.G.A. § 7-4-1 at

sag., and Georgia law prohibiting unjust enrichment in seeking

delinquent dues on behalf of Georgia homeowners associations.

(Second Am. Compl., Doc. 91, SI 1.)
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A. Factual History

     Plaintiffs,      proposed   class      representatives,     are    Georgia

homeowners      and   members    of   the     Ashbrooke     Property     Owners

Association (''Ashbrooke").      (Third Am. Mot. to Certify Class, Doc.

93, at 8-10.)      Over approximately three years, from 2012 through

2015, Ashbrooke charged its members an annual assessment of $115.

(Id. at 8, 10; Usry Aff., Doc. 79-5, 1 7; Darnell Aff., Doc. 79-

6, ^ 7.)       Plaintiffs each missed an        annual assessment payment

during the relevant time period.         (Usry Aff., SI 9; Darnell Aff.,

SI 9.)    Following the missed payments. Defendant EquityExperts.org

("Defendant      Equity   Experts")   initiated     collection       efforts   to

recover the annual fee.          (Usry Aff., SI 9; Darnell Aff., SI 9.)

Plaintiffs allege that Michael Novak, Jacqueline Galofaro, and

Mark Bredow ("Individual Defendants," collectively with Defendant

Equity Experts, "Defendants") were responsible for developing and

implementing the practice Defendant Equity Experts employed to

collect outstanding payments.         (Second Am. Compl., SI 34.).

         Per   Ashbrooke's   Declaration      of    Rights,    Restrictions,

Affirmative Obligations and Conditions Applicable to the Ashbrooke

Subdivision     ("Declaration"), Ashbrooke         is   authorized    to impose

certain penalties against members failing to pay required fees.

(Decl., Doc. 79-1, at 5.)         Pursuant to the Declaration, amounts

due and payable "shall bear interest from the due date at the rate

of eighteen percent (18%) per annum."           (Id. at 8.)
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       The Association may also impose a reasonable late charge
       upon delinquent assessments for each installment that
       remains unpaid. Such interest and late charges shall be
       added to and become part of the annual assessment to
       which such Lot is subject. The Association may foreclose
       the lien of the delinquent assessment against the Lot,
       and the Association may bring an action at law against
       the Owner personally obligated to pay the delinquent
       assessments.  In either event, the Owner shall also be
       liable to the Association for all costs and attorney's
       fees   which     the   Association         shall     incur   in   connection
       with the collection of such delinquent amounts.

(Id

       In 2013, Ashbrooke contracted with Defendant Equity Experts

to collect late and unpaid assessments.                     (Equity Experts Community
                                                                                       I
Association Collection Agreement, Doc. 79-3, at 1.)                        The agreement

authorizes Defendant Equity Experts, ''pursuant to Limited powers

of    Attorney,    to    collect       the    delinquent       assessments     from    the

responsible party, plus any and all costs of collection charged by

[Defendant     Equity     Experts],          as    outlined    in    our   standard    fee

structure      addendum        which    is        updated    and    distributed       semi-

annually."      (Id.)         The affixed addendum at the time of signing

included a fee structure: (1) "Intent to Record Lien Letter" -

"$50"; (2) "Preparation of Lien & Draft to Owner" - "$75"; (3)

"Constant Contact" - "$75"; (4) "Notice of Intent to Foreclose and

Draft to Owner" - "$75"; (5) "Publication of Foreclosure" - "$450

Publication Estimate."           (Id. at Addendum A.)

        As for the proposed class representatives. Defendant Equity

Experts mailed correspondence to Plaintiff Usry dated June 28,
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2013.     (Galofaro Dep., Doc. 79-4, Ex. 12.)            The letter announced

that the    delinquent account      had   been turned      over to    Defendant

Equity Experts for collection.            (Id.)   The letter continued to

notify Plaintiff Usry that her current balance was $443.65 and, if

she did not pay the balance within thirty days of the letter, the

balance would increase to $838.65.           The $443.65 balance included

the ^^Beginning balance from association" — ''^$173.65"; ^'Standard

Account Set-Up" — '*^$17 5.00"; and ^^Intent to Record Lien package"

— ''^$95.00."    (Galofaro Dep., Ex. 18.)         Defendant Equity Experts

followed through on its warning in the June 28, 2013 letter, and

on September 9, 2013, Defendant Equity Experts applied a ^^Lien

recording and discharge package" charge in the sum of $395.00.

(Id.)     At that point. Plaintiff Usry owed $838.65.           (Id.)

        Over the next three months. Defendant Equity Experts added

charges for the ^^Constant Contact Service Package" and the "Pre-

Foreclosure     Package" in   the   amounts   of $750.00      and    $1,495.00,

respectively.     (Id.)     As of December 2, 2013, Defendant Equity

Experts    claimed   that   Plaintiff     Usry    owed    $3,083.65.     (Id.)

Approximately one year later, by letter dated December 11, 2014,

Defendant Equity Experts informed Plaintiff Usry that her balance

was $3,199.60 and if she did "not pay within [ten] days, balance

may be at least: $6,644.60."        (Id. Ex. 13.)

     The second proposed class representative. Plaintiff Darnell,

experienced similar circumstances following his failure to timely
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pay his 2013 annual assessment of $115.00.                  (Darnell Aff.,         1,

9,   11.)    Plaintiff    Darnell settled the          account     with    Defendant

Equity Experts for $1,351.00.          (Id. ^ 14.)

      Plaintiffs offer Defendants' sequence of charges imposed upon

receiving a delinquent account as justification for their claims:

      Account Setup Fee - $175.00
      Intent to Record a Lien Notice - $95.00
      Recording of the Lien Notice - $395.00
      Constant Contact Communication Package - $750.00
      Intent to Foreclose Notice - $1,495.00
      Post Intent to Foreclose Notice - $100 monthly, in perpetuity
      Managing the Foreclosure Litigation Fee - $3,445.00

(Third Am. Mot. to. Certify Class, at 6-7.)                 Plaintiffs argue that

the fees charged are not contained ""in any of the covenants of any

Georgia neighborhood for which Defendant [Equity Experts] provides

collection    services"    and     ^^the    homeowners      from   whom    Defendant


collects and attempts to collect delinquent assessments have no

agreements or contracts with Defendant agreeing to what Defendant

might charge."      (Id. at 5; see also Galofaro Dep., at 73, 81.)

According to Plaintiffs, Defendants' methods used to collect the

debts    violate    the   FDCPA.           (Second    Am.    Compl.,      SISI 50-59.)

Additionally, Plaintiffs claim that Defendants' charged fees are

disguised interest on the debt exceeding 16% per annum in violation

of Georgia usury laws.      (Id.       60-68.)       Finally, Plaintiffs allege

unjust enrichment resulting from Defendants' collection of amounts

to which they were not entitled.             (Id.      69-75.)
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       Plaintiffs assert Defendants' common practice for charging

and collecting certain amounts resulted in injury to numerous

potential class members.       Accordingly, Plaintiffs purport this

case is appropriate for class adjudication.

B. Procedural History

       Plaintiff Usry initially filed the present action in the

Superior Court of Columbia County, Georgia, but Defendant removed

the case to this Court.     (Notice of Removal, Doc. 1.)        On August

15, 2016, Plaintiff Usry filed her motion for leave to file an

amended complaint to add Plaintiff Darnell as a named plaintiff

and proposed class representative.       (Doc. 30.)    The Court granted

the motion (Doc. 34), and Plaintiffs filed their first amended

complaint on September 8, 2016.       (Doc. 35.)      Plaintiffs filed a

motion for leave to file their second amended complaint on April

5, 2018, seeking to add the Individual Defendants.            (Doc. 82.)

The Court granted Plaintiffs' motion (Doc. 90), and Plaintiffs

filed their second amended complaint on March 18, 2019.             (Doc.

91.)

       Plaintiffs filed their first motion to certify class on June

14, 2017.     (Doc. 61.)    On January 11, 2018, the Court ordered

Plaintiffs to refile their motion to certify class but ordered

that the amended motion to certify class should not contain any

substantive changes.     (Doc. 76.)    In compliance with the Court's
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Order, Plaintiffs filed their first amended motion to certify class

the next day.     (Doc. 77.)

     In their first amended motion to certify class, Plaintiffs

asked the Court to certify the following general class:

     All natural persons in Georgia to whom Equity Experts
     sent collection letters asserting claims for delinquent
     assessments, interest, and fees in violation of the
     FDCPA and the Georgia usury statute while residing in
     the State of Georgia (hereinafter the "General Class
     Members").

(First. Am. Mot. to Certify Class, Doc. 77, at 17.)            Plaintiffs

also proposed class definitions for three putative subclasses:

     a. All natural persons in Georgia to whom Equity Experts
     sent  collection   communications  seeking   to  collect
     illegal interest or other sums not owed (hereinafter the
     "Illegal Interest Class Members"); and,

     b. All natural persons in Georgia against whom Equity
     Experts has filed a lien and/or lawsuit asserting claims
     for delinquent    assessments, interest, and fees while
     residing in the    State of Georgia and against whom the
     lawsuit or lien   remains pending and unpaid (hereinafter
     the "Injunction   Class Members"); and,

     c. All natural persons in Georgia from whom Equity
     Experts received any payment arising from collection
     efforts of assessments by Equity Experts which included
     usurious interest charged in violation of the Georgia
     usury statutes and illegal fees charged in violation of
     the FDCPA while residing in the State of Georgia
     (hereinafter the "Unjust Enrichment Class Members").

(Id. at 1-2.)    Before the Court reached the explicit requirements

of Federal Rule of Civil Procedure 23, it denied Plaintiffs' motion

on the implied requirement of ascertainability.          (Feb. 16, 2018

Order,   Doc.   78.)    Specifically,     the   Court   determined   that
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Plaintiffs' general class and two of the subclasses were defined

as fail-safe classes.    (Id. at 6-8.)     The Court denied the motion

to certify class without prejudice and permitted Plaintiffs the

opportunity to correct the class definitions.        (Id. at 8.)

     Plaintiffs filed their second amended motion to certify class

on March 16, 2018.     (Second Am. Mot. to Certify Class, Doc. 79.)

The second amended motion defined the general class as:

     All natural persons in Georgia to whom, while residing
     in Georgia, Equity Experts sent collection letters
     asserting claims for delinquent assessments, where the
     interest and/or fees, exceed sixteen percent (16%) per
     annum of the delinquent assessment. (hereinafter the
    ''General Class Members").

(Id. at 1.)   Plaintiffs also revised the putative subclasses and

expanded the number of subclasses from three to four:

     a. All natural persons to         whom, while residing in
     Georgia, Equity Experts sent      collection communications
     seeking to collect interest       and/or fees in excess of
     sixteen percent (16%) per         annum of the delinquent
     assessment.     (hereinafter the "Illegal Interest Class
     Members"); and,

     b. All natural persons against whom, while residing in
     Georgia, Equity Experts has filed, or threatened to
     file, a lien and/or lawsuit asserting claims for
     interest and/or fees in an amount in excess of sixteen
     percent (16%) per annum of the delinquent assessment,
     (hereinafter the "Injunction Class Members"); and,

     c. All natural persons from whom, while residing in
     Georgia, Equity Experts received any payment of interest
     and/or fees in excess of sixteen percent (16%) per annum
     of the delinquent assessment.       (hereinafter the "Unjust
     Enrichment Class Members"); [and,]

     d. All natural persons from whom, while residing in
     Georgia, Equity Experts sought payments in excess of
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     sums     stated   in   the      governing     HOA    agreement     plus
    reasonable   costs  of collection.                   (hereinafter   the
    ''Excess Sums Class Members").

(Id. at 2.)    Again, the Court denied Plaintiffs' motion to certify

class     without   prejudice     finding    that    determining      the     class

membership was not administratively feasible.                   (Mar. 12, 2019

Order, Doc. 90, at 12-15.)

        Plaintiffs filed their third amended motion to certify class

shortly    thereafter.      (Third    Am.   Mot.   to Certify     Class.)      The

present motion defines the putative class as:

     All natural persons in Georgia to whom, while owning a
     home in Georgia, Equity Experts sent collection letters
     asserting claims for delinquent assessments, where the
     interest and/or fees, exceed sixteen percent (16%) per
     annum of the delinquent assessment.    (hereinafter the
     "General Class Members").

(Id. at 2.)    The third amended motion to certify class also revised

the definitions of the putative subclasses:

        a. All natural persons to whom, while owning a home in
        Georgia, Equity Experts sent collection communications
        seeking to collect interest and/or fees in excess of
        sixteen percent (16%) per annum of the delinquent
        assessment.    (hereinafter the "Illegal Interest Class
        Members"); and,

        b. All natural persons against whom, while owning a home
        in Georgia, Equity Experts has filed, or threatened to
        file, a lien and/or lawsuit asserting claims for
        interest and/or fees in an amount in excess of sixteen
        percent (16%) per annum of the delinquent assessment,
        (hereinafter the "Injunction Class Members"); and,

        c. All natural persons from whom, while owning a home in
        Georgia, Equity Experts received any payment of interest
        and/or fees in excess of sixteen percent (16%) per annum
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     of the delinquent assessment.            (hereinafter the ^^Unjust
     Enrichment Class Members"); [and,]

     d. All natural persons from whom, while owning a home in
     Georgia, Equity Experts sought payments in. excess of
     sums stated in the governing       HOA agreement plus
    reasonable  costs  of collection.                   (hereinafter    the
    "Excess Sums Class Members").

(Id. at 2-3.)       Plaintiffs request that the Court appoint both

Plaintiffs Usry and Darnell as class representatives of the General

Class, the Illegal Interest Class, and the Excess Sums Class.                 (Id.

at 3 n.2.)      Plaintiff Usry seeks appointment as representative of

the Injunction Class, and Plaintiff Darnell seeks appointment as

representative of the Unjust Enrichment Class.               (Id.)     Defendants

again oppose certification on several grounds.




                               II. DISCUSSION


A. Class Certification Standard


    "The       district   court   has   broad    discretion    in    determining

whether to certify a class."            Washington v. Brown & Williamson

Tobacco Corp., 959 F.2d 1566, 1569 (11th Cir. 1992).                The district

court's    discretion,      however,    "must    be     exercised    within   the

framework of [R]ule 23."          Vega v. T-Mobile USA, Inc., 564 F.3d

1256, 1264 (11th Cir. 2009) (citation and internal quotation'marks

omitted).      The class certification is proper only if "the trial

court     is   satisfied,    after      a    rigorous    analysis,     that   the

prerequisites of Rule 23 . . . have been satisfied."                 Gen. Tele.




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Co. of Sw. V. Falcon, 457 U.S. 147, 161 (1982).                    Such an analysis

frequently overlaps ^'with the merits of the plaintiff's underlying

claim."     Comcast     Corp.     v.   Behrend,    569 U.S.        27,    33-34   (2013)

(citation omitted). ''"Although the trial court should not determine

the merits of the plaintiffs' claim at the class certification

stage, the trial court can and should consider the merits of the

case to the degree necessary to determine whether the requirements

of Rule 23 will be satisfied."            Vega, 564 F.3d at 1266 (citations

omitted).

       Certification      under    Rule   23     requires     that       the   proponent

""satisfy   an    implicit      ascertainability          requirement,         the   four

requirements listed in Rule 23(a), and the requirements listed in

any of Rule 23(b)(1), (2), or (3)."               Karhu v. Vital Pharm., Inc.,

621 F. App'x 945, 946 (11th Cir. 20.15) (citing Little v. T-Mobile

USA,    Inc.,    691   F.3d   1302,    1304    (11th   Cir.   2012)).          The   four

requirements of        Rule   23(a) are        commonly    known    as ""numerosity,

commonality, typicality, and adequacy of representation."                            Vega,

564    F.3d at 1265 (citation omitted).                Additionally, Plaintiffs

move for certification pursuant to Rule 23(b)(3).                        Rule 23(b)(3)

requires the proponent to satisfy the additional requirements of

""predominance" and ""superiority."              Id.      Plaintiffs must satisfy

the certification requirements not only for the general class, but

also for the putative subclasses.               Fed. R. Civ. P. 23(c)(5) (""When

appropriate, a class may be divided into subclasses that are each



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treated as a class under this rule."); Johnson v. Am. Credit Co.

of Ga.;. 581 F.2d 526, 532 (5th Cir. 1978) (interpreting former

Rule 23(c)(4)(B)) (''A subclass . . . must independently meet all

of [R]ule 23's requirements for maintenance of a class action.")

       '"The    party   seeking     class     certification      has   the    burden    of

proof."        Brown v. Electrolux Home Prods., Inc., 817 F.3d 1225,

1233    (11th    Cir.     2016)    (emphasis     omitted).       Doubts      related   to

satisfaction of the standard are resolved against certification.

See id. (^^All else being equal, the presumption is against class

certification       because       class   actions     are   an   exception      to     our

constitutional tradition of individual litigation.").

B. Implicit Certification Requirement - Ascertainability

       ''[A]   plaintiff seeking- to represent a proposed class must

establish that the proposed class is adequately defined and clearly

ascertainable."         Carriuolo v. Gen. Motors Co., 823 F.3d 977, 984

(11th Cir. 2016) (citation and internal quotation marks omitted).

"An identifiable class exists if its members can be ascertained by

reference to objective criteria."                 Bussey v. Macon Cty. Greyhound

Park,    Inc., 562        F.   App'x   782,   787   (11th    Cir.   2014)     (citation

omitted).

       The     Eleventh    Circuit     recently     acknowledged       a   split   among

Circuit Courts of Appeal as to whether plaintiff must demonstrate

an    "administratively           feasible"      method   for    determining       class

membership.       Ocwen Loan Servicing, LLC v. Belcher, No. 18-90011,



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2018 WL 3198552, at *3 {11th Cir. June 29-, 2018).                 However, "[i]n

the past, this court has stated that a class is not ascertainable

unless the class definition contains objective criteria allowing

class members to be identified in an administratively feasible

way."   Karhu, 621 F. App'x at 946 (citing Bussey, 562 F. App'x at

787).      Although    the    Eleventh   Circuit     refrained from taking a

position on the administrative feasibility circuit split, Ocwen

Loan Servicing, 2018 WL 3198552, at *3, both sides address the

requirement    in     their    briefing.      Accordingly,     the      Court   will

consider    whether     ^'identifying      class   members    is    a   manageable

process that does not require much, if any, individual inquiry."

Bussey, 562 F. App'x at 787 (citation omitted).

      Certification     is    also denied     for lack   of   ascertainability

where the proposed class constitutes a fail-safe class. "The issue

of fail-safe classes has not yet been expressly addressed by the

Eleventh Circuit," but "lower courts in the Eleventh Circuit have

cautioned against certifying fail-safe classes."              Etzel v. Hooters

of Am., LLC, 223 F. Supp. 3d 1306, 1315 (N.D. Ga. 2016) (citation

and   internal quotation        marks    omitted).     Although      not squarely

deciding the issue, the Eleventh Circuit recently warned against

the "risk of promoting so-called 'fail-safe' classes."                  Cordoba v.

DirecTV, LLC, 942 F.3d 1259, 1277 (11th Cir. 2019).                  "A fail-safe

class is a class whose membership can only be ascertained by a

determination of the merits of the case because the case is defined




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in terms of the ultimate question of liability."                In re Rodriguez,

695 F.3d 360, 369-70 (5th Cir. 2012).            A fail-safe class improperly

"shields the       putative   class members from           receiving    an   adverse

judgment.    Either the class members win or, by virtue of losing,

they   are   not   in   the   class   and,     therefore,     not    bound   by   the

judgment."    Randleman v. Fidelity Nat^l Title Ins. Co., 646 F.3d

347, 352 (6th Cir. 2011).           "So, the class definition assumes what

it ostensibly seeks to prove."              Etzel, 223 F. Supp. 3d at 1316

(citation omitted).

       1. Fail-Safe Class


       Defendant     Equity    Experts        passively    argues     "Plaintiffs'

proposed amended class definitions still [d]o not cure the ^fail

safe' proposed classes, and class certification should be denied

on that fact alone." (Def.'s Resp. Opp'n Third Am. Mot. to Certify

Class, Doc. 104, at 4.)        In the Court's Order dated March 12, 2019,

the Court found that the former proposed classes were not fail

safe   classes.      (Mar.    12,   2019    Order,    at   11-12.)     Plaintiffs'

alteration of the class definitions from residency to ownership

does not impact the former fail-safe analysis.

       Defendant    Equity    Experts      somewhat    challenges      whether    the

proposed classes are fail-safe because Plaintiffs must prove that

the account is a "debt" and the class member is a "consumer" under


the FDCPA.     As discussed in the Court's February 16, 2018 Order,

a fail-safe class is defined in terms of the ultimate question of



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liability.       (Feb. 16, 2018 Order, at 6 (citing In re Rodriguez,

695 F.3d at 369-70).)         Nothing in the proposed class definitions

requires a finding that the account is a "debt" or the proposed

class member is a "consumer" under the FDCPA before the proposed

member may join the various classes.              Moreover, even accepting

Defendant Equity Experts's argument as true, a finding that the

account is a "debt" and the proposed class member is a "consumer"

does not go to the ultimate question of liability, which is whether

Defendant Equity Experts violated the FDCPA.               The proposed class

definitions are not fail-safe classes.


      2. Objective Criteria & Administrative Feasibility

      Next,     Defendant    Equity   Experts   appears     to   challenge     the

classes    on    objective    criteria    and   administrative       feasibility

grounds.        Whereas the   previous motion for class certification

sought to certify classes of all Georgia residents, the current

motion proposes definitions of those "own[ing] a home in Georgia."

Determining classes of plaintiffs owning a home in Georgia is

objective and administratively feasible.            Plaintiffs successfully

cured this deficiency from their prior motion.

      Defendant Equity Experts briefly asserts that "there is no

administratively feasible method of determining membership given

the   individualized    inquiries     inherent    to     Plaintiffs'    proposed

class definitions."      (Def.'s Resp. Opp'n Third Am. Mot. to Certify

Class,    at    4.)   Defendant   Equity      Experts,    however,    offers    no



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specifics       as    to    why       class     membership        determination           is    not

administratively feasible.                    As proposed, the class definitions

contain objective criteria for membership.

C. Rule 23(a) Requirements

       Rule 23(a) enumerates four prerequisites that must be shown

before class certification: (1) numerosity; (2) commonality; (3)

typicality;       and      (4)       adequacy       of   representation.            The        Court

evaluates each in turn.


       1. Numerosity

       Rule    23(a)(1)         requires      a     showing      that ''the       class    is     so

numerous that joinder of all members is impracticable."                                Although

the    Eleventh      Circuit         requires       more   than "mere         allegations         of

numerosity[,] . . . a plaintiff need not show the precise number

of    members    in     the      class."          Vega,    564    F.3d       at   1267.        'MA]

plaintiff . . . bears the burden of making some showing, affording

the district court the means to make a supported factual finding,

that    the    class . . . meets              the      numerosity    requirement."               Id.

(emphasis in original).                 Nevertheless, the plaintiff's burden to

show    numerosity         is    a    "low    hurdle."        Id.        A    proposed         class

containing       forty      members          generally      satisfies         the   numerosity

requirement.         Id.

       Here,    Plaintiffs allege there are over 100 class members

(Second Am. Compl., SI 39) and cite to a spreadsheet purportedly

representing         800      individuals           that   Defendant          Equity      Experts


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subjected to unlawful collection practices.              (Third Am. Mot. to

Certify Class, at 20; Spreadsheet, Doc. 79-9.)               Defendant Equity

Experts does not specifically challenge the numerosity prong and,

instead, challenges certification arguing that Plaintiffs ''failed

to meet their burden of demonstrating the number of persons they

seek to represent actually have standing to sue."                  (Def.'s Resp.

Opp'n Third Am. Mot. to Certify Class, at 18 (emphasis omitted).)

       Generally,     standing     is    addressed     at    the     outset     of

certification.       Defendant Equity Experts, however, links standing

to numerosity.       It is well-established in the Eleventh Circuit

that "[f]or a district court to certify a class action, the named

plaintiffs must have standing, and the putative class must meet

each    of   the   requirements   specified   in     Federal    Rule     of   Civil

Procedure 23(a), as well as at least one of the requirements set

forth in 23(b)."      Busby v. JRHBW Realty, Inc., 513 F.3d 1314, 1321

(11th Cir. 2008).      Defendant Equity Experts does not challenge the

named    plaintiffs'    standing    based    upon    their     alleged    injury.

Additionally, Defendant Equity Experts does not argue the absence

of typicality on the basis that the potential class members and

the    class   representatives     suffered   different        injuries.        See

Williams v. Mohawk Indus., Inc., 568 F.3d 1350, 1357 (11th Cir.

2009) (noting typicality requires class representatives to suffer

the same injury as the class members).              Therefore, it generally

follows that if the class representatives have standing to sue.



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and the putative classes meet the other requirements of Rule 23,

there    should     be    no    concerns    with    the   putative    class    members'

standing.

        Defendant Equity Experts offers nothing that differentiates

the standing of the class members from the class representatives.

Cf. Cordoba, 942 F.Sd at 1272 (finding difference between class

representative repeatedly asking to be placed on do-not-call list

and class members never asking to be placed on do-not-call list

because class members not asking to be placed on list could not

show injury fairly traceable to the defendant's wrongful conduct,

which    impacted        the    predominance       analysis).       Defendant    Equity

Experts's argument here, though, is different than the one in

Cordoba.     Defendant Equity Experts's argument is that Plaintiffs'

burden is to prove the standing of the class members.                        "[I]f [the

defendant's] argument depended on the proposition that all class

members     must    prove       their   standing      before    a    class    could   be

certified, that argument would be wrong."                  Id. at 1273.       The Court

finds no issue with class standing here.

        Although Defendant Equity Experts focused on standing, the

Court still evaluates whether Plaintiffs sufficiently establish

numerosity.        Plaintiffs offer evidence that numerosity for the

General     Class    is        satisfied,   but     the   motion     lacks    citations

regarding the numerosity of each subclass as required by Rule




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23(c)(5).   Nevertheless, the Court examines the documents provided

to determine if numerosity is met as to each subclass.

      From the record, the Court first finds a sufficient number of

putative class members exist to make joinder impracticable as to

the   General   Class.    Second,    considering    the    only    substantive

difference between the General Class and the Illegal Interest Class

is ^^letters" versus ^^communications," satisfaction of numerosity

for the General Class implies satisfaction of numerosity for the

Illegal Interest Class.      Third, the spreadsheet contains a large

number of entries exhibiting a filed lien satisfying the numerosity

requirement for the Injunction Class.

      Fourth, although Plaintiffs fail to direct the Court to any

specific evidence as to numerosity for the Unjust Enrichment Class,

the   spreadsheet   documents      which   homeowners     made    payments   to

Defendant Equity Experts.        Plaintiffs allege that Defendant Equity

Experts employed a common practice of charging interest and fees

in excess of 16% per annum.        (Second Am. Compl., SISI 31, 33.)         The

spreadsheet     reveals   that     Defendant    Equity    Experts     received

payments from a sufficient number of persons to make their joinder

impracticable.

      Fifth, similar to the        Unjust Enrichment Class, Plaintiffs

assert   that   Defendants   utilized      a   common   practice    to   charge

homeowners sums exceeding the amounts permitted in the various

governing HpA agreements.    (Id.)     Although the Court lacks evidence



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concerning the various governing documents, for the reasons stated

in Sections 11(C)(2) and 11(D)(1), infra, individual evaluations

of the various HOA documents will force the Court to revisit the

certification         issue.           Considering    the   number    of    persons   that

Defendant         Equity     Experts      charged,    numerosity      is    satisfied   if

Defendants, in fact, enacted a common practice of charging more

than permitted under the HOA agreements.

     2. Commonality

        Next, Plaintiffs must establish ^^there are questions of law

or fact common to the class," often referred to as commonality.

Fed. R. Civ. P. 23(a)(2).                Commonality ^'does not require that all

the questions of law and fact raised by the dispute be common."

Vega,    564       F.3d     at   1268     (citation    omitted).       To    demonstrate

commonality, the            moving      party must satisfy a ''low            hurdle" of

showing "at least one issue whose resolution will affect all or a

significant number of the putative class members."                         Williams, 568

F.3d at 1355, 1356.

        In        Defendant       Equity     Experts's       opposition       to      class

certification, grouped under one heading, it argues Plaintiffs

failed       to     show      predominance,        commonality,       typicality,       and

manageability.             (Def.'s Resp. Opp'n Third Am. Mot. to Certify

Class,       at    7-16.)        The    Eleventh   Circuit   has     cautioned     against

failure      to     give    commonality      and     predominance    their    individual




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considerations.     See Vega, 564 F.3d at 1268-69.                Therefore, the

Court focuses only on the commonality requirement at this time.

      Plaintiffs enumerate issues that establish commonality as to

the   General   Class   and   subclasses.    As   to   the    General   Class   and


Illegal Interest Class Members, Plaintiffs assert that Defendant

Equity Experts employed a standard practice of sending letters and

communicating     with   putative    class    members        to   charge   amounts

violating the law.       (Second Am. Compl., 1 35; see also Kim Bragg

and Associates Dep., Doc. 73-1, at 21-22.)             Moreover, the majority

of the communications in the record appear to be the same basic

form.   (Compare Galofaro Dep., Ex. 9, with id. Ex. 10; compare id.

Ex. 13, with id. Ex. 14; compare id. Ex. 15, with id. Ex. 16.)

Whether the alleged standard actions violate "the FDCPA is a legal

question common to all members of the putative class and requires

proof of the same material facts."           Roundtree v. Bush Ross, P.A.,

304 F.R.D. 644, 659 (M.D. Fla. Feb. 18, 2015); see also Muzuco v.

Re$ubmitlt, LLC, 297 F.R.D. 504, 515 (S.D. Fla. 2013).                  Therefore,

the low bar for commonality is met as to the General Class and

Illegal Interest Class.

      The same is true for the Injunction Class.                  Plaintiff Usry

asserts that Defendant Equity Experts used a standardized lien

process.   (Second Am. Compl., 5 35.)         The record contains evidence

that Defendant Equity Experts employed a common process for filing

a lien or lawsuit.        (Galofaro Dep., at 121-32.)             Therefore, the



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legality of that process is commonly applicable to all putative

class    members.      As   for   the    classes    defined     to    include       amounts

charged in excess of 16% per annum, including the Unjust Enrichment

Class, whether amounts collected in excess of 16% violated federal

or Georgia law can be uniformly determined.

        Finally, the Court finds the Excess Sums Class to be a close

decision.     As Defendant Equity Experts points out, on the face of

the class definition, the subclass seemingly requires an analysis

of each HOA document.             The Court agrees that if Plaintiffs are

seeking to certify a class of putative members requiring evidence

of    each   HOA   agreement      to    determine    validity        of   a    claim, the

subclass does not yield itself to resolution of "an issue that is

central to the validity of each one of the claims in one stroke."

Wal-Mart     Stores,    Inc.      v.    Dukes,     564   U.S.    338,         350   (2011).

Nevertheless, Plaintiffs satisfy their low burden of establishing

commonality as to Defendant Equity Experts's alleged practice of

charging beyond the applicable HOA agreement.                   (Third Am. Mot. to

Certify Class, at 5-6.)           To the extent determination of liability

for charging beyond the various HOA agreements is not shown to be

a common practice and requires evaluation of each governing HOA

document, the       Court is entitled to "revisit the issue and de

certify the class."          In re Delta/AirTran Baggage Fee Antitrust

Litig., 317 F.R.D. 675, 681 (N.D. Ga. 2016) (citation omitted)

(citing Fed. R. Civ. P. 23(c)(1)(C)) (An order that grants or denies



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class    certification      ''^may   be    altered     or       amended    before   final

judgment.").

        3. Typicality

        Plaintiffs satisfy the typicality requirement.                        Typicality

demands that "'the claims or defenses of the representative parties

are typical of the claims or defenses of the class."                         Fed. R. Civ.

P. 23(a)(3).       As the Eleventh Circuit has instructed:

        The claim of a class representative is typical if the
        claims    or   defenses      of     the    class         and   the    class
        representative arise from the same event or pattern or
        practice and are based on the same legal theory. . . . A
        class representative must possess the same interest and
        suffer the same injury as the class members in order to
        be typical under Rule 23(a)(3). . . .     The typicality
        requirement may be satisfied despite substantial factual
        differences when there is a strong similarity of legal
        theories.


Williams     568    F.3d    at   1357     (citation,      internal        citations,   and

internal quotation marks omitted).                Although it briefly refers to

typicality in a heading and offers a rule statement (Def.'s Resp.

Opp'n Third Am. Mot. to Certify Class, at 7, 8), Defendant Equity

Experts    does     not    appear    to    set    forth     a    specific     typicality

challenge.       The record contains sufficient information upon which

the Court determines that the claims of the class representatives

are typical of the General Class and subclasses.

        First, the record contains several examples of letters and

collection communications from Defendant Equity Experts to Sarah

Usry.    (See, e.g., Galofaro Dep., Exs. 9, 11-13.)                    Defendant Equity




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Experts purportedly sent similar communications to putative class

members.      (See id. Exs. 10, 14.)              Daniel Darnell, also a proposed

class representative for the General Class and Illegal Interest

Class, received similar correspondence.                   (See id. Ex. 19, see also

Darnell Aff., SI 11.)           The putative class representatives' claims

are    sufficiently       typical     of    the    General     and     Illegal Interest

Classes.


       Second, Plaintiff Usry's claims are typical of the Injunction

Class.       Defendant Equity Experts filed a lien against Plaintiff

Usry's home.        (Usry Aff., SI 11.)        Plaintiffs' position is that the

threatening         and   filing     of    liens   was    a    standard     practice    of

Defendant      Equity      Experts    (see    Galofaro        Dep.,    at   123-26),   the

practice had no basis in law or fact, and liens were filed against

369 other homeowners (Hamrick Aff., Doc. 79-10, SI 4).                        Therefore,

considering the information in the record, the Court concludes the

claim that the lien against Plaintiff Usry violated the FDCPA is

typical of the putative Injunction Class Members.

       Third, Plaintiff Darnell's claims are typical of the Unjust

Enrichment Class.          The claims of the Unjust Enrichment Class allege

that Defendant Equity Experts collected sums in excess of legal

limits.      Plaintiff Darnell failed to make an initial payment of

$115    to    his    property      owners    association.             Plaintiff   Darnell

eventually      paid      $1,351   to     settle    his   collection        account    with

Defendant Equity Experts.               Accordingly, Plaintiff Darnell's claim



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is typical of the putative Unjust Enrichment Class Members' claims

that Defendant Equity Experts collected sums beyond what the law

permits.

     Fourth, both Plaintiffs Usry and Darnell seek appointment as

representatives of the Excess Sums Class.                Plaintiffs Usry and

Darnell's initial debts grew to much larger sums that they claim

were not specifically included in their HOA.             As previously noted

herein,     Plaintiffs    cite     portions   of   the    record     indicating

Defendant Equity Experts employed a common practice.               Plaintiffs'

claims — that the charges were beyond the governing HOA agreement

plus reasonable costs of collection — are consistent with the

claims of the putative class.

     4. Adequacy of Representation

     Under Rule 23(a)(4), ''[T]he representative party in a class

action must adequately protect the interests of those he purports

to represent."        Valley Drug Co. v. Geneva Pharm., Inc., 350 F.3d

1181, 1189 (11th Cir. 2003) (citation and internal quotation marks

omitted).       The     adequacy    requirement    contains    two     separate

inquiries:    ^Ml)    whether    any   substantial conflicts       of interest

exist between the representatives and the class; and (2) whether

the representatives will adequately prosecute the action."                  Id.

(citation omitted).       Defendant does not argue that Plaintiffs will

fail to adequately prosecute the action, and Plaintiffs assert

they are prepared to do so.        (Usry Aff., SI 19; Darnell Aff., SI 18.)



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Defendant Equity Experts does, however, raise the issue that a

conflict exists between the class representatives and the putative

class members.


    ''If substantial conflicts of interest are determined to exist

among the class, class certification is inappropriate."                     Valley

Drug, 350 F.Sd at 1189.        Defendant Equity Experts asserts that it

benefitted some potential class members because some potential

class members saved their home from foreclosure.               (Def.'s Resp.

Opp'n Third Am. Mot. to Certify Class, at 19.)               Defendant Equity

Experts fails to cite any examples but states, "[I]t is by no means

inconceivable that many of" the more than 800 putative class

members   "who     were     serviced   by   [Defendant]      Equity     Experts,

benefited   from      the   services   provided     because    of     the     many

opportunities provided by [Defendant] Equity Experts to save their

home from foreclosure."        (Id.)

     First, the Court finds no conflict as to the General Class,

Illegal Interest Class, Unjust Enrichment Class, and Excess Sums

Class.    The Court agrees with Plaintiffs' position that even if

the charging or payment of illegal sums saved some homes from

foreclosure,     no   conflict   exists.     An   adequacy    showing    may    be

defeated when the benefits "were so significant and apparent that

the class members receiving them effectively had no incentive to

see the challenged practice(s) declared unlawful."              In re Delta,

317 F.R.D. at 695.          Assuming Defendant Equity Experts actually



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conferred    a   benefit       on   homeowners     allowing    them      to    avoid

foreclosure,     the   Court    does    not find    that    those    hypothetical

homeowners    that     avoided      foreclosure    lack     incentive     to    have

Defendant    Equity    Experts's       alleged   actions    declared     unlawful.

Should   Defendant     Equity Experts's actions            prove    unlawful, any

homeowners that saved their home from foreclosure had an interest

in saving their home from foreclosure without unlawful collection

efforts and payments.

     Second, the Court does recognize a potential conflict between

homeowners attempting to save their home from foreclosure and

putative Injunction Class Members.             Nevertheless, ^^a conflict will

not defeat the adequacy requirement if it is ^merely speculative

or hypothetical.'"       Id. at 681 (quoting Ward v. Dixie Nat'l Life

Ins. Co., 595 F.3d 164, 180 (4th Cir. 2010)).               In the event a true

conflict materializes, the certification issue may be revisited.

See Fed. R. Civ. P. 23(c)(1)(C).              The adequacy of representation

prong is met.

D. Rule 23(b)(3) Requirements

     Once a plaintiff establishes the Rule 23(a) requirements for

certification,     a   plaintiff       must   demonstrate    one    of   the   three

requirements under Rule 23(b).           Plaintiffs here seek certification

under Rule 23(b)(3).       Pursuant to Rule 23(b)(3), a plaintiff must

show ^^questions of law or fact common to class members predominate

over any questions affecting only individual members" and ^^that a



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class action is superior to other available methods for fairly and

efficiently    adjudicating    the   controversy."       In    making     that

determination courts evaluate four factors:


     (A) the class        members' interests in          individually
     controlling the      prosecution or defense         of separate
     actions;


     (B) the extent and nature of any litigation concerning
     the controversy already begun by or against class
     members;


     (C) the desirability or undesirability of concentrating
     the litigation of the claims in the particular forum;
     and


     (D) the likely difficulties in managing a class action.

Fed. R. Civ. P. 23(b)(3).

     1. Predominance


     Predominance requires that "the issues in the class action

that are subject.to generalized proof and thus applicable to the

class as a whole, must predominate over those issues that are

subject only to individualized proof."         Babineau v. Fed. Express

Corp., 576 F.3d 1183, 1191 (11th Cir. 2009).         The common questions

"must predominate such that they have a direct impact on every

class   member's     effort   to   establish   liability      that   is   more

substantial than the impact of individualized issues in resolving

the claim or claims of each class member."         Landeros v. Pinnacle

Recovery, Inc., 692 F. App'x 608, 612 (11th Cir. 2017) (citation

and internal quotation marks omitted); accord Vega, 564 F.3d at

1270.      "Common   issues   will   not   predominate     over   individual



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questions     if,       as    a    practical       matter,         the    resolution         of   an

overarching common issue breaks down into an unmanageable variety

of individual legal and factual issues."                           Carriuolo, 823 F.Sd at

985.         To      make          a      predominance            determination,             courts

''begin[] . . . with              the    elements       of   the        underlying      cause     of

action."      Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S.

804, 809 (2011); accord Vega, 564 F.3d at 1270.

       Plaintiffs' class action involves three underlying claims:

(1) violation of the FDCPA; (2) violation of Georgia usury laws;

and (3) unjust enrichment.                In order to prevail on an FDCPA claim,

"a    plaintiff     must       establish         that   (1)       she    was    the    object      of

'collection       activity'            arising    from       'consumer         debt';       (2)   the

defendant qualifies as a 'debt collector' under the FDCPA; and (3)

the defendant engaged in an act or omission prohibited by the

FDCPA."      Darrisaw v. Pa. Higher Educ. Assistance Agency (PHEAA),

No. CV 316-082, 2017 WL 1377719, at *2 (S.D. Ga. Apr. 11, 2017).

The Court begins with Defendant Equity Experts's contention that

because determining whether the accounts at issue qualify as a

consumer     debt       requires        individual       determinations,              the    common

issues do not predominate.

       The   FDCPA      applies         only to "payment obligations" that                        are

"primarily        for        personal,      family,          or     household         purposes."

Oppenheim v. I.C. Sys., Inc., 627 F.3d 833, 837 (11th Cir. 2010)

(emphasis omitted).            Although the Court recognizes that some courts



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hesitate to certify classes when the court cannot ensure that all

of the debts involved are non-consumer debts, see, e.g., McCamis

V. Servis One, Inc., No. 8:16-CV-1130-T-30AEP, 2017 WL 589251, at

*5 (M.D. Fla. Feb. 14, 2017) (noting individual questions as to

whether    debts   were   consumer    debts   contributed       to   defeating

predominance), other courts have concluded that this alone may not

thwart certification.      'MT]he need to show that the transactions

involved in a particular case are consumer transactions is inherent

in every FDCPA class action[].             If . that need alone precluded

certification, there would be no class actions under the FDCPA."

Hicks V. Client Servs., Inc., No. 07-61822-CIV, 2008 WL 5479111,

at *6 (S.D. Fla.      Dec. 11, 2008) (citation omitted).              As Hicks

concluded, ''there are means for making such determinations"^ and

"proper drafting of the claim form may help exclude non-consumer

debts."2    Id.; accord     Collins   v.   Erin   Capital    Mgmt., LLC,       290

F.R.D. 689, 700 (S.D. Fla. 2013).          Moreover, questions regarding

Defendant Equity Experts's status as a debt collector and alleged

violations of the FDCPA do not require individual determinations.

Accordingly,    common    questions   surrounding      the    communications,

letters, amounts collected, amounts sought, and liens and lawsuits


1 Although the Court cited Karhu for the proposition that self-identification
is a concern at the ascertainability stage    (Mar.   12,   2019 Order,   at   14),
ascertainability is not at issue here.
2 Defendant Equity Experts argues that Plaintiffs' present definitions are
another fail-safe class. (Def.'s Resp. Opp'n Third Am. Mot. Certify Class, at
12.) The Court disagrees. Whether a putative class member is in the class is
not dependent on the ultimate question of liability — whether Defendants' debt
collection practices violated the FDCPA.



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filed predominate over individual questions related to whether the

various accounts constitute a consumer debt.


     Moreover,     even    if   Defendant    Equity   Experts    possesses

individual defenses based upon the absence of a consumer debt, the

question as to whether Defendant Equity Experts sought illegal

interest remains common to the class.         Accordingly, there is not

a concern that several plaintiffs meeting a class definition will

join as class members but fail to fit within one of the asserted

claims against Defendant Equity Experts.

        Next, Plaintiffs assert a claim for violation of Georgia usury

laws.


     The essential elements of usury are (1) a loan or
     forbearance of money, express or implied; (2) made with
     an understanding that the principal shall or may be
     returned; (3) that provides a profit greater than that
     authorized by law in exchange for such loan or
     forbearance; and (4) with an intent to violate the law.

Mallard v. Forest Heights Water Works, Inc., 580 S.E.2d 602, 603

(Ga. Ct. App.     2003).    As for the      usury claims, common issues

predominate.       Defendant    Equity   Experts   proclaims    that   each

association's governing documents must be examined because some of

the governing documents capped interest at 18%, not the 16% figure

contained in the class definition.       Even accepting Defendant Equity

Experts's position as true. Plaintiffs' theory is that the charged

amount over 16% is usurious, regardless of the language in the

governing documents.       Therefore, such determinations are capable




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of    classwide    resolution      regardless          of     the    language     in    the

individualized HOA documents.                Although the governing documents

may present individual questions as to the unjust enrichment claim,

discussed      below,    whether       the        governing    documents        permitted

Defendant Equity Experts to collect interest in an amount greater

than 16% is a legal question capable of classwide resolution.

Therefore, classwide issues predominate.

       Finally,    Plaintiffs         allege       unjust     enrichment.          Unjust

enrichment '"is an equitable concept and applies when as a matter

of fact there is no legal contract, but when the party sought to

be charged has been conferred a benefit by the party contending an

unjust enrichment which the benefitted party equitably ought to

return or compensate for."            Wachovia Ins. Servs., Inc. v. Fallon,

682 S.E.2d 657, 665 (Ga. Ct. App. 2009).                      Plaintiffs' theory of

unjust enrichment depends on the allegation that Defendant Equity

Experts received amounts Plaintiffs did not owe.                      Defendant Equity

Experts      maintains   that    it    charged        amounts       under   the   various

governing documents.           As discussed, regarding commonality, the

Court maintains some concern that individual governing documents

may impact the Court's ability to manage the class action as to

this claim.


       The Eleventh Circuit has stated that ^^common questions will

rarely, if ever, predominate an unjust enrichment claim."                              Vega,

564   F.3d   at 1274.    The    Court    understands the            Eleventh Circuit's




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reasoning and proceeds with certification with caution.                       Here,

however, Plaintiffs argue, with evidence that Defendant Equity

Experts's collection efforts were on "autopilot," that Defendant

Equity Experts's "business operations are the same to all members

of the putative class."           Muzuco, 297 F.R.D. at 521.          To the extent

Defendant Equity Experts engaged in a common practice of charging

and accepting amounts not permitted, predominance is satisfied.

If, however. Plaintiff fails to establish such a common practice

or Defendant Equity Experts shows that determination of excess

payment is subject to individualized proof, as noted before, the

Court    will   revisit     the   certification   issue     as   to    the   classes

impacted by such individualized determinations.

        2. Superiority

        Here,   a   class    action    is   superior   to   other       methods   of

adjudicating the controversy.               Defendant Equity Experts argues

that the absence of manageability and a potential recovery of $0.00

per putative class member preclude certification.                 Beginning with

manageability. Defendant Equity Experts offers no authority in

support of its belief that the class action is unmanageable.                      The

Court previously addressed the consumer debt issue and does not

find distinguishing putative class members owning their home for

nonconsumer purposes to be unmanageable.^


3 Defendant Equity Experts also argues, without supporting authority, that
underlying debt enforcement actions may preclude the present claims of some
putative plaintiffs. The Court is not persuaded by the argument at this stage.


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     Next, without support. Defendant Equity Experts states the

potential recovery for any class member is $0.00.             Cf. Gaalswij k-

Knetzke   v.   Receivables   Mgmt.   Servs.   Corp.,    No.   8:08-cv-493-T-

26TGW, 2008 WL 3850657, at ^4, *4 n.7 (M.D. Fla. Aug. 14, 2008)

(noting how the defendant arrived at the potential recovery amount

the defendant argued was de minimis).           Defendant Equity Experts

does not explain why the potential recovery per putative class

member is $0.00 versus $1.00 or $2.00, but Plaintiffs point out

that even assuming Defendant Equity Experts is judgment proof,

other defendants are party to this lawsuit.            As for the potential

for a small recovery, the Supreme Court has quoted:

      The policy at the very core of the class action mechanism
      is to overcome the problem that small recoveries do not
      provide the incentive for any individual to bring a solo
      action prosecuting his or her rights.     A class action
      solves this problem by aggregating the relatively paltry
      potential recoveries into something worth someone's
      (usually an attorney's) labor.

Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 617 (1997) (quoting

Mace V. Van Ru Credit Corp., 109 F.3d 338, 344 (7th Cir. 1997)).

The Eleventh Circuit has noted the benefit of class adjudication

of FDCPA claims as compared to individual adjudication, even where

the potential recovery per putative class member is very small.

Dickens v. GC Servs. Ltd. P'ship, 706 F. App'x 529, 537-38 (11th



Without deciding one way or the other, a state enforcement action does not
necessarily preclude a later FDCPA claim.    See Azar v. Hayter, 874 F. Supp.
1314, 1317 (N.D. Fla. 1995), aff'd, 66 F.3d 342 (11th Cir. 1995).      Without
additional information, the Court does not conclude that potential preclusion
issues as to some putative plaintiffs destroy predominance or superiority.


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Cir. 2017).     The benefit of class adjudication is particularly

true when the conduct complained of implicates a defendant's common

practice.    Jones v. Advanced Bureau of Collections LLP, 317 F.R.D.

284, 291, 294 (M.D. Ga. 2016).

     The Court recognizes that it is required to consider the cost

and recoveries in determining the efficiency of the litigation,

but it   does   not    consider    the     potential   recovery in      a   vacuum.

Evaluating    the     efficiency     of    class    adjudication   is       done   in

connection    with    the   other factors enumerated in         Rule 23(b)(3).

Although the potential recovery is higher for individuals, there

is no indication the putative class members are aware of their

rights under the FDCPA or under Georgia law.                   Putative class

members' lack of awareness is supported by Plaintiffs' averment

that they are unaware of other lawsuits that class members are

pursuing.    Moreover, to the extent that the putative class members

did pursue the alleged claims individually, it would place a

consequential strain on the courts.              See Jones, 317 F.R.D. at 294

(quoting Kennedy v. Tallant, 710 F.2d 711, 718 (11th Cir. 1983))

("[S]eparate [FDCPA] actions by each of the class members would be

repetitive,     wasteful,      and    an       extraordinary   burden       on     the

courts.").    Overall, class adjudication is superior to other forms

of adjudication.




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                                 III. CONCLUSION


        For    the   foregoing    reasons,         IT   IS    HEREBY      ORDERED       that

Plaintiffs' amended motion for class certification (Doc. 93) is

GRANTED.       The Court CERTIFIES the proposed class and subclasses

pursuant to Federal Rule of Civil Procedure 23(b)(3) as defined in

Plaintiffs' amended motion for class certification.                            (Third Am.

Mot. to Certify Class, at 2-3.)          Plaintiffs shall SUBMIT a proposed

notice    in    accordance   with   Rule      23(c)(2)(B)           to   the    Court   for

approval.        Pursuant to     Rule   23(c)(1)(B)           and   23(g), the      Court

APPOINTS the appearing attorneys on behalf of Plaintiffs as class

counsel,       (See Hudson Aff., Doc. 79-12.)

        Further, the Court APPOINTS Plaintiffs Usry and Darnell as

class representatives of the General Class, the Illegal Interest

Class, and the Excess Sums Class.             Additionally, Plaintiff Usry is

APPOINTED      class   representative         of    the      Injunction        Class,    and

Plaintiff Darnell is APPOINTED class representative of the Unjust

Enrichment Class.


        Finally, the Parties are DIRECTED to submit a joint report

relating to the status of discovery and other scheduling matters.

     ORDER ENTERED at Augusta, Georgia, thig—^                                  of March,

2020.



                                        J. RANDAL "HALZ, UCHr^ JUDGl
                                        UNITED STATES         DISTRICT     COURT
                                        SOUTHEEW^ISTRICT OF GEORGIA



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